
Forst, J., concurring in part and dissenting in part.
I respectfully dissent in part. Appellant was not afforded an evidentiary hearing on any of the claims raised in his Florida Rule of Criminal Procedure 3.850 motion alleging ineffective assistance of trial counsel. I agree with the majority in finding no error in the trial court summarily denying six of the seven claims. However, I would remand for an evidentiary hearing with respect to Appellant's contention that counsel's failure to move to exclude incriminating evidence of items found in the vehicle in which Appellant was stopped constituted reversible ineffective assistance of counsel. Appellant "stated a legally sufficient claim for relief, and the record before this court does not conclusively refute the claim." Harris v. State , 74 So.3d 567, 568 (Fla. 4th DCA 2010).
